                 Case 2:17-cv-00327-TSZ Document 96 Filed 04/02/18 Page 1 of 2



                                                                  HONORABLE THOMAS S. ZILLY
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 6                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8                                        )
                                          )
 9   HARMONY GOLD U.S.A., INC.,           )                  CASE NO. 2:17-CV-00327-TSZ
                                          )
10                                                           DECLARATION OF RYAN B.
                           Plaintiff,     )
                                                             MEYER IN OPPOSITION TO
11                                        )                  PLAINTIFF’S MOTION FOR
                v.                        )                  ISSUANCE OF A LETTER OF
12                                        )                  REQUEST (LETTER ROGATORY)
     HAREBRAINED SCHEMES LLC,             )
13   HAREBRAINED HOLDINGS, INC., JORDAN )
     WEISMAN, PIRANHA GAMES INC. and DOES )
     1–10,
14                                        )
                                          )
15                         Defendants.    )
16
            I, Ryan B. Meyer, hereby declare as follows:
17
            1.       I am an attorney at Dorsey & Whitney LLP which represents plaintiff Piranha
18

19   Games Inc. (“Piranha”) in this matter. The statements made below are based on my personal

20   knowledge.

21          2.       On March 21, 2018, I served, or had served, on Harmony Gold and its counsel of

22   record a Fed. R. Civ. P. 11 motion for sanctions and associated papers relating to the copyright

23   ownership claims made by Harmony Gold in each version of its Complaint. Service was made by
24   email and by legal messenger at the office of each of Harmony Gold’s attorneys and law firms of
25
     record in this case, in compliance with Fed. R. Civ. P. 5.
26
     DECLARATION OF RYAN B. MEYER IN OPPOSITION TO PLAINTIFF’S                 DORSEY & WHITNEY LLP
                                                                                       COLUMBIA CENTER
     MOTION FOR ISSUANCE OF A LETTER OF REQUEST (LETTER ROGATORY)                701 FIFTH AVENUE, SUITE 6100
     Case No. 2:17-cv-00327-TSZ  1                                             SEATTLE, WASHINGTON 98104
                                                                                     PHONE: (206) 903-8800
                                                                                      FAX: (206) 903-8820
               Case 2:17-cv-00327-TSZ Document 96 Filed 04/02/18 Page 2 of 2



            I declare under penalty of perjury pursuant to the laws of the United States of America
 1
     that the foregoing is true and correct to the best of my information, knowledge, and belief.
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          Signed this 2nd day of April, 2018 at Seattle, Washington.
 3

 4                                                /s/ Ryan B. Meyer__________________
                                                  Ryan B. Meyer
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     DECLARATION OF RYAN B. MEYER IN OPPOSITION TO PLAINTIFF’S                    DORSEY & WHITNEY LLP
                                                                                         COLUMBIA CENTER
     MOTION FOR ISSUANCE OF A LETTER OF REQUEST (LETTER ROGATORY)                  701 FIFTH AVENUE, SUITE 6100
     Case No. 2:17-cv-00327-TSZ  2                                               SEATTLE, WASHINGTON 98104
                                                                                       PHONE: (206) 903-8800
                                                                                        FAX: (206) 903-8820
